                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE                    Motion GRANTED for
                                NASHVILLE DIVISION                             a 2-week extension.

UNITED STATES OF AMERICA                     )
                                             )
                                             )
       v.                                    )        No. 3:11-00082-8
                                             )        JUDGE TRAUGER
                                             )
JAMES THOMAS COFFEY                          )


          MOTION FOR ADDITIONAL TIME WITHIN WHICH TO FILE
SUPPLEMENTAL PLEADING TO CORRECT OR REDUCE SENTENCE PURSUANT TO 18
                         U.S.C. Sec. 3582(c)(2)

       James Thomas Coffey, through counsel and with the concurrence of the government,

moves the court for two weeks within which to file any supplemental pleading in support of his

request for a reduced sentence. Counsel would show that he is in continuing discussions with the

government with respect to the appropriateness of any reduction in accordance with the Court’s

order. Harold B. McDonough, Jr. has now been assigned this case on behalf of the government

and would need to review several plea related documents in an effort to determine whether any

agreement on a sentence reduction can be reached. In light of this need for further review and

negotiations, the additional time is required. If an agreement cannot be reached, undersigned

counsel would be prepared to file a motion for a sentence reduction on behalf of Mr. Coffey.

       WHEREFORE, for these reasons, the parties request an additional period of two weeks

within which to file any supplemental pleadings in support of Mr. Coffey’s motion to reduce his

sentence.


                                             Respectfully submitted,


                                             /s/ Ronald C. Small
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